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COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


MANUEL GONZALEZ SOTO,                                                     Appellant,


v.



THE STATE OF TEXAS,						           Appellee.

                                                                                                                      


On appeal from the 398th District Court 

of Hidalgo County, Texas

                                                                                                                      


DISSENTING OPINION


Before Justices Yañez, Rodriguez, and Vela


Dissenting Opinion by Justice Vela




	The majority reverses Soto's convictions on the bases that the charge erroneously
permitted a conviction on a less-than-unanimous verdict on the alternative paragraphs
alleged in Count 1 (aggravated sexual assault of a child) and Count 2 (indecency with a
child by contact) and that Soto "was egregiously harmed by the error" and "[a]s a result of
the non-unanimous verdict error in Counts 1 and 2, we cannot determine whether the jury
erroneously relied on conduct subsumed within offenses charged in Counts 1 and 2 in
convicting [Soto] in Count 3."  Because I would hold that Soto did not suffer egregious
harm and because the record does not show that the jury erroneously relied on conduct
subsumed within offenses charged in Counts 1 and 2 in convicting Soto in Count 3, I must
dissent from the majority's opinion.

I. Egregious Harm


	By issue five, Soto argues the trial court erred by failing to instruct the jurors they
must reach a unanimous verdict with respect to the alternative paragraphs of Count 1
(aggravated sexual assault of a child) and Count 2 (indecency with a child by contact). 
When we review a charge for alleged error, we determine (1) whether charge error actually
existed, and (2) whether any resulting harm requires reversal.  Castaneda v. State, 28
S.W.3d 685, 694 (Tex. App.-Corpus Christi 2000, no pet.).

1.  Requirement of Unanimous Verdict

	Verdict unanimity is required in felony criminal cases.  Tex. Const. art. V, § 13; Tex.
Code Crim. Proc. Ann. art. 36.29(a) (Vernon Supp. 2007).  A unanimous jury verdict
"ensures that the jury agrees on the factual elements underlying an offense," requiring
"more than mere agreement on a violation of a statute."  Francis v. State, 36 S.W.3d 121,
125 (Tex. Crim. App. 2000).

	Here, the court instructed the jury disjunctively on Counts 1 and 2.  The jury returned
a separate, general guilty verdict for Count 1 and a separate, general guilty verdict for
Count 2.  Because each act proscribed by penal code sections 22.021 (aggravated sexual
assault of a child) and 21.11 (indecency with a child by contact) constitutes a separate
statutory offense, the court's disjunctive submission prevented jury unanimity for Counts
1 and 2.  See Pizzo v. State, 235 S.W.3d 711, 718 (Tex. Crim. App. 2007); Vick v. State,
991 S.W.2d 830, 832-33 (Tex. Crim. App. 1999).  Therefore, the trial court erred in
submitting the charge in the disjunctive form.  See id. 

2.  Harm Analysis

	When, as in this case, an accused fails to object to the charge, an appellate court
will not reverse, unless the error was so egregious, and created such harm, that the
accused has not had a fair trial.  Almanza v. State, 686 S.W.2d 157, 171 (Tex. Crim. App.
1985).  Under the Almanza egregious-harm standard, the record must show that a
defendant has suffered actual, rather than merely theoretical, harm from the jury-instruction
error.  Id. at 174.  Egregious harm consists of errors affecting the very basis of the case
or that deprive the defendant of a valuable right, vitally affect a defensive theory, or make
the case for conviction or punishment clearly and significantly more persuasive.  Saunders
v. State, 817 S.W.2d 688, 692 (Tex. Crim. App. 1991).  Egregious harm is a difficult
standard to prove and must be determined on a case-by-case basis.  Ellison v. State, 86
S.W.3d 226, 227 (Tex. Crim. App. 2002).  To determine whether a defendant has
sustained egregious harm from an instruction to which he did not object, an appellate court
considers:  (1) the entire charge; (2) the state of the evidence, including contested issues;
(3) arguments of counsel; and (4) any other relevant information.  Hutch v. State, 922
S.W.2d 166, 171 (Tex. Crim. App. 1996).

(i)  The Charge

	The court instructed the jury on the State's burden of proof (1) and the requirement of
a unanimous verdict. (2)

(ii) State of the Evidence and Contested Issues

	With respect to Count 1--aggravated sexual assault of a child--the evidence
showed Soto penetrated the child victim's mouth with his sexual organ and that he caused
his sexual organ to contact the child victim's mouth.  Sotos's acts of putting his sexual
organ into the child victim's mouth necessarily resulted in contact between the child victim's
mouth and Soto's sexual organ.  There is no evidence of any other act or acts of contact
between the child victim's sexual organ and Soto's finger.  Thus, certainly, the jurors
unanimously found Soto guilty of both penetrating the child victim's mouth with his sexual
organ and causing her mouth to contact his sexual organ.

	With respect to Count 2--indecency with a child by contact--the child victim testified
that Soto made her rub his sexual organ.  The outcry witness, Officer Saldana, testified the
child victim told him that Soto "made her rub [his sexual organ] up and down."  Lorenza
Guerrero testified the child victim told her that Soto "would have her hold his private part
. . . with her hand."  Thus, the evidence showed that Soto caused the child victim to touch
part of his genitals.

	Guerrero testified that Soto touched the child victim "[t]o the genital area.  She told
me she had been touched in her genital area."  Guerrero stated that "he would be rubbing
his private part to the female's sexual organs" "like the vaginal area, the front."  Thus, the
evidence showed that Soto touched part of the child victim's genitals.  There is no evidence
to show that Soto touched the child victim's breasts. (3)	

	There is nothing in the record to suggest that a juror would believe Soto was guilty
of touching the child victim's genitals, but harbor a reasonable doubt concerning whether
he ever caused her to touch his genitals.

(iii) Arguments of Counsel

	During the State's closing argument (4)
 at the guilt-innocence stage, the prosecutor
mentioned the three alternative statutory offenses submitted under Counts 1 and 2. 
However, the prosecutor did not tell the jury that they need not follow the trial court's
unanimous-verdict instruction.  Moreover, the alternative statutory offenses submitted to
the jury under Counts 1 and 2 were not mutually exclusive.  See Ngo v. State, 175 S.W.3d
738, 751-52 (Tex. Crim. App. 2005) (holding that defendant could not be guilty of both
stealing credit card and receiving stolen credit card from thief). 

(iv)  Other Relevant Information

	Soto's defensive strategy was to undermine the child victim's credibility by adducing
evidence that she and her mother were liars.  In other words, Soto's defensive theory was
that the State had failed to prove beyond a reasonable doubt that he was guilty of any of
the offenses alleged against him.  The jury obviously resolved the credibility issue in the
child victim's favor.

	I conclude the trial court's disjunctive submission did not constitute error affecting
the very basis of the case or error that deprived Soto of a valuable right, vitally affected a
defensive theory, or made the case for conviction or punishment clearly and significantly
more persuasive.  See Saunders, 817 S.W.2d at 692.  I would hold, therefore, that the
disjunctive submission of the three distinct statutory offenses alleged in Counts 1 and 2,
without requiring unanimity concerning the distinct statutory offenses, did not result in
egregious harm to Soto.  I would overrule issue five.

II.  Whether the Jury Erroneously Relied on Conduct Subsumed 

within Offenses Charged in Counts 1 and 2 in Convicting Soto in Count 3


	Soto did not object to the submission of Count 3 to the jury, and he did not raise this
issue on appeal.  Count 3-indecency with a child by exposure-is a separate offense from
aggravated sexual assault of a child (Count 1) or indecency with a child by contact (Count
2).  See Tex. Penal Code Ann. § 21.11(a)(2)(A) (Vernon 2003).  The evidence showed
Soto exposed his genitals to the child victim.  The trial court submitted Count 3 to the jury
in a single paragraph.  Accordingly, the jury reached a unanimous guilty verdict on Count
3.  The record does not show that the jury erroneously relied on conduct subsumed within
offenses charged in Counts 1 and 2 in convicting Soto of indecency with a child by
exposure.  For these reasons, I respectfully dissent.

	I would affirm the trial court's judgments.


	

							ROSE VELA	

							Justice



Publish.  Tex. R. App. P. 47.2(b).


Dissenting Opinion delivered and

filed this 29th day of July, 2008.
1. The court instructed the jury:  "The prosecution has the burden of proving the defendant guilty and
it must do so by proving each and every element of the offense charged beyond a reasonable doubt, and if
it fails to do so, you must acquit the defendant."
2. The court instructed the jury:  "Your verdict must be unanimous.  Unanimous means all 12 of you
must vote, and after you have reached a unanimous verdict, the presiding juror will certify thereto by signing
the appropriate form attached to this charge."
3. The child victim testified Soto had touched her chest.  However, this testimony is insufficient to show
he touched her breasts.  In Nelson v. State, 505 S.W.2d 551, 552 (Tex. Crim. App. 1974), the question before
the court of criminal appeals was whether the victim's testimony that "he rubbed my chest" was sufficient to
sustain the allegation in the indictment that the defendant did "place his hand against the breasts" of the
victim.  The court found the evidence insufficient because the definition of "chest" was patently broader than
the definition of "breast" and "includes a larger area of the body than that encompassed by the latter."  Nelson,
505 S.W.2d at 552.
4. Regarding Counts 1 and 2, the prosecutor stated:


		Keep in mind, ladies and gentlemen, that either one of these--let's say you find that
there was contact that his sexual organ, his penis, contacted the mouth of the victim.  That's
enough for an aggravated sexual assault.  There is three different manner and means.  You
don't have to agree--all of you don't have to agree that one of these happened, as long as
you all agree that either one of these happened.  Okay.  The Judge told you that it has to be
unanimous, meaning that all 12 of you have to decide guilty or not guilty.


		And as far as manner and means, one person will say, Well, you know what?  I
believe the evidence showed that his sexual organ contacted the mouth of somebody else. 
Well, you say, you know what?  I think that it not only contacted but he put his penis in her
mouth.  Well, that's enough for an aggravated sexual assault in that regard.


			*  *  *


	So if you find in Count 2 he made her touch part of his genitals, then you will also find him
guilty of indecency with a child, or that he touched her breasts or that she touched any part
of his genitals, either one of these.


		If one of you says, Well, you know what?  I think the evidence shows that he touched
her breasts, but there was no evidence that he touched part of her genitals and the evidence
shows that all of these happened, but if any one of you have a question as to which one it
was, as long as it was either one of these, you will find him guilty of indecency with a child.




